                                Case 3:22-cr-00270-WHO Document 89-13 Filed 04/11/23 Page 1 of 18



                            1

                            2

                            3

                            4

                            5                              EXHIBIT L
                            6

                            7

                            8

                            9

                           10

                           11
B AKER & H OSTE TLER LLP




                           12
   A TTORNEYS AT L AW
      L OS A NGELE S




                           13

                           14

                           15

                           16

                           17

                           18

                           19

                           20

                           21

                           22

                           23

                           24

                           25

                           26

                           27

                           28



                                                                     9
               Case
             Case   3:21-cr-00294-WHODocument
                  3:22-cr-00270-WHO   Document  40 Filed
                                              89-13 Filed08/12/21
                                                          04/11/23 Page
                                                                    Page12ofof818




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 SCOTT D. JOINER (CABN 223313)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7        FAX: (415) 436-7234
          scott.joiner@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13

14   UNITED STATES OF AMERICA,                         ) NO. &5
                                                       )
15           Plaintiff,                                ) PLEA AGREEMENT
                                                       )
16      v.                                             )
                                                       )
17   PAUL FREDRICK GIUSTI,                             )
                                                       )
18           Defendant.                                )
                                                       )
19

20           I, Paul Fredrick Giusti, and the United States Attorney’s Office for the Northern District of
21 California (hereafter “the government”) enter into this written Plea Agreement (the “Agreement”)

22 pursuant to Rule 11(c)(1)(A) and 11(c)(1)(B) of the Federal Rules of Criminal Procedure:

23 The Defendant’s Promises

24           1.      I agree to plead guilty to the captioned Information charging me with Conspiracy to Bribe
25 a Local Official and Commit Honest Services Fraud in violation of 18 U.S.C. § 371. I agree that the

26 elements of conspiracy to bribe a local official and commit honest services fraud are: (1) beginning in at

27 least 2014, and ending in or about January 2020, there was an agreement between two or more persons

28 to bribe a San Francisco public official and deprive the people of San Francisco of the honest services of

     PLEA AGREEMENT                                   1                                          v. 05/14/2020
     CR 21-
             Case
           Case   3:21-cr-00294-WHODocument
                3:22-cr-00270-WHO   Document  40 Filed
                                            89-13 Filed08/12/21
                                                        04/11/23 Page
                                                                  Page23ofof818




 1 a San Francisco public official; (2) I became a member of the conspiracy knowing of at least one of its

 2 objects and intending to help accomplish it; and (3) one of the members of the conspiracy performed at

 3 least one overt act for the purpose of carrying out the conspiracy.

 4          I agree that the elements of bribery, in violation of 18 U.S.C. § 666, are as follows: (1) A person

 5 was an agent of an organization, a state, local or tribal government, or an agency of a state, local, or

 6 tribal government; (2) the organization, state or local government received federal assistance in excess

 7 of $10,000 in a one-year period; (3) the one-year period of federal assistance was within twelve months

 8 before or after the commission of the offense; (4) I gave, offered, or agreed to give a thing of value to

 9 any person; (5) I intended to influence or reward the agent of the organization or agency in connection

10 with a transaction or series of transactions of the organization or agency that involved $5,000 or more;

11 and (6) I acted corruptly.

12          I agree that the elements of honest services wire fraud, in violation of 18 U.S.C. §§ 1343 and

13 1346, are as follows: (1) I devised or knowingly participated in a scheme or plan to deprive the people of

14 San Francisco of their right of honest services; (2) the scheme or plan consisted of bribes in exchange

15 for the services of a public official; (3) Nuru owed a fiduciary duty to the people of San Francisco; (4) I

16 acted with the intent to defraud by depriving the people of San Francisco of their right of honest

17 services; (5) my acts were material; and (6) I used, or caused someone to use, an interstate or foreign

18 wire communication to carry out or to attempt to carry out the scheme or plan.

19          I agree that the maximum penalties are as follows:

20          a.      Maximum prison term                                          5 years

21          b.      Maximum fine                                                 $250,000 or twice the gross
                                                                                 gain or gross loss, whichever
22
                                                                                 is greater
23
            c.      Maximum supervised release term                              3 years
24
            d.      Restitution
25
            e.      Mandatory special assessment                                 $100
26

27          f.      Forfeiture

28

     PLEA AGREEMENT                                   2                                          v. 05/14/2020
              Case
            Case   3:21-cr-00294-WHODocument
                 3:22-cr-00270-WHO   Document  40 Filed
                                             89-13 Filed08/12/21
                                                         04/11/23 Page
                                                                   Page34ofof818




 1          2.      I agree that I am guilty of the offense to which I am pleading guilty, and I agree that the

 2 following facts are true:

 3                                  [SEE EXHIBIT A FILED UNDER SEAL]

 4          3.      I agree to give up all rights that I would have if I chose to proceed to trial, including the

 5 rights to a jury trial with the assistance of an attorney; to confront and cross-examine government

 6 witnesses; to remain silent or testify; to move to suppress evidence or raise any other Fourth or Fifth

 7 Amendment claims; to any further discovery from the government; and to pursue any affirmative

 8 defenses and present evidence.

 9          4.      I agree to give up my right to appeal my conviction, including constitutional challenges

10 to the statute of conviction. I agree to give up my right to appeal the judgment and all orders of the

11 Court. I also agree to give up my right to appeal any aspect of my sentence, including any orders

12 relating to forfeiture and/or restitution, reserving only my right to claim that my sentence violated this

13 plea agreement, applicable law, or the Constitution. I reserve my right to claim that my counsel was

14 ineffective. I understand that this waiver includes, but is not limited to, any and all constitutional or

15 legal challenges to my conviction and guilty plea, including arguments that the statute to which I am

16 pleading guilty is unconstitutional, and any and all claims that the statement of facts provided herein is

17 insufficient to support my plea of guilty.

18          5.      I agree not to file any collateral attack on my conviction or sentence, including a petition

19 under 28 U.S.C. § 2255 or 28 U.S.C. § 2241, except that I reserve my right to claim that my counsel was

20 ineffective.

21          6.      I agree not to ask the Court to withdraw my guilty plea at any time after it is entered. In

22 the event I violate any of the terms of the Agreement, I agree that the facts set forth in Paragraph 2 of

23 this Agreement and, if applicable, the fact that I made a sworn admission to them in a previous court

24 proceeding, shall be admissible against me in any subsequent proceeding, including at trial. In any

25 subsequent proceeding conducted after I violate any of the terms of the Agreement, I expressly waive

26 any and all rights under Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 with regard to the facts set forth in

27 Paragraph 2 of the Agreement and, if applicable, the fact that I made a sworn admission to them at a

28 previous court proceeding.

     PLEA AGREEMENT                                    3                                           v. 05/14/2020
             Case
           Case   3:21-cr-00294-WHODocument
                3:22-cr-00270-WHO   Document  40 Filed
                                            89-13 Filed08/12/21
                                                        04/11/23 Page
                                                                  Page45ofof818




 1          7.       I understand that the Court must consult the United States Sentencing Guidelines and

 2 take them into account when sentencing, together with the factors set forth in 18 U.S.C. § 3553(a). I

 3 also agree that the sentencing range will be calculated by the Court and that other than joining in a

 4 possible government downward departure pursuant to U.S.S.G. § 5K1.1 and/or 18 U.S.C. § 3553(e), I

 5 will not ask for any other adjustment to or reduction in the offense level or for a downward departure

 6 from the Guidelines range as determined by the Court. I reserve my right to argue for a variance from

 7 the Guidelines range determined by the Court based on 18 U.S.C. § 3553(a) factors. I understand that

 8 the government is free to oppose any such request. I understand that regardless of the sentence that the

 9 Court imposes on me, I will not be entitled, nor will I ask, to withdraw my guilty plea.

10          8.       I agree that regardless of any other provision of this Agreement, the government may and

11 will provide the Court and the Probation Office with all information relevant to the charged offense and

12 the sentencing decision, including any victim impact statements and letters from the victim(s), and/or

13 their friends and family. I agree that, based on the nature of the offense, the Court should impose the

14 following special condition of supervised release which is reasonably related to deterrence and

15 rehabilitation:

16                   Special Condition (Searches)

17                   The defendant shall submit his person, residence, office, vehicle, electronic
                     devices and their data (including cell phones, computers, and electronic storage
18                   media), and any property under defendant’s control to a search. Such a search
                     shall be conducted by a United States Probation Officer or any federal, state, or
19                   local law enforcement officer at any time, with or without suspicion. Failure to
                     submit to such a search may be grounds for revocation; the defendant shall warn
20                   any residents that the premises may be subject to searches.

21          9.       I agree that I will make a good-faith effort to pay any fine, forfeiture, or restitution I am

22 ordered to pay. I agree to pay the special assessment at the time of sentencing.

23          I agree to pay full restitution for all losses caused by all the schemes or offenses with which I

24 was charged in this case, and I understand that the amount of restitution will not be limited to the loss

25 attributable to the count to which I am pleading guilty, pursuant to 18 U.S.C. § 3663(a)(3). I understand

26 that the court will not consider my economic circumstances in determining the restitution amount. I

27 agree to pay restitution in an amount to be set by the Court at the time of sentencing.

28          Any restitution payments shall be paid through the office of the clerk of the District Court by

     PLEA AGREEMENT                                     4                                           v. 05/14/2020
              Case
            Case   3:21-cr-00294-WHODocument
                 3:22-cr-00270-WHO   Document  40 Filed
                                             89-13 Filed08/12/21
                                                         04/11/23 Page
                                                                   Page56ofof818




 1 bank or cashier’s check or money order made payable to the “Clerk, United States District Court.”

 2           I understand that the restitution described above creates a lien in favor of the United States on all

 3 property and rights to property I may possess upon entry of judgment and continues for the later of 20

 4 years from the entry of judgment or 20 years after release from imprisonment or until the debt is paid in

 5 full. I further understand the government will record a notice of the lien in any county where I reside or

 6 have property. I further understand that this order of restitution cannot be discharged in bankruptcy and

 7 that if I default on the payment of a fine or restitution, the Court may revoke probation or a term of

 8 supervised release, modify the terms or conditions of probation or supervised release, resentence me,

 9 hold me in contempt of court, order the sale of property, enter or adjust a payment schedule, or take any

10 other action necessary to obtain compliance.

11           At least sixty days prior to sentencing, I agree to complete, under penalty of perjury, a financial

12 statement provided by the U.S. Attorney’s Office and to update that statement with material changes

13 within seven days of the change. I understand that I must identify all assets and financial interests

14 valued at more than $1,000. I further understand that these assets and financial interests include all

15 assets and financial interests in which I have an interest, direct or indirect, whether held in my own name

16 or in the name of another, in any property, real or personal.

17           I agree to surrender assets I obtained as a result of my crimes, and release funds and property

18 under my control in order to pay any fine, forfeiture, or restitution. I further agree to notify the Financial

19 Litigation Unit, United States Attorney’s Office (“FLU”) before transferring any interest in property

20 owned directly or indirectly by me, including any interest held or owned under any other name or entity,

21 including trusts, partnerships, and/or corporations. I also agree to notify the FLU of any interest in

22 property I may obtain, directly or indirectly, including any interest obtained under any other name, or

23 entity, including a trust, partnership, or corporation, after the execution of this plea agreement until the

24 fine or restitution is paid in full.

25           I agree that any fine, forfeiture, or restitution imposed by the court against me will be due

26 immediately and subject to immediate enforcement by the government as authorized by 18 U.S.C. §

27 3613. I further understand that the government may seek immediate collection of the entire fine,

28 forfeiture, or restitution from any assets without regard to any schedule of payments imposed by the

     PLEA AGREEMENT                                    5                                           v. 05/14/2020
              Case
            Case   3:21-cr-00294-WHODocument
                 3:22-cr-00270-WHO   Document  40 Filed
                                             89-13 Filed08/12/21
                                                         04/11/23 Page
                                                                   Page67ofof818




 1 court or established by the Probation Office and that monetary penalties imposed by the court will be

 2 submitted to the Treasury Offset program so that any federal payment or transfer of returned property I

 3 receive may be offset and applied to federal debts.

 4          10.     I agree to cooperate with the U.S. Attorney’s Office before and after I am sentenced. My

 5 cooperation will include, but will not be limited to, the following:

 6          a.      I will meet with the government when requested;

 7          b.      I will respond truthfully and completely to any and all questions put to me, whether in
                    interviews, before a grand jury, or at any trial or other proceeding;
 8
            c.      I will provide all documents and other material asked for by the government;
 9
            d.      I will testify truthfully at any grand jury, court, or other proceeding as requested by the
10                  government;

11          e.      I will surrender any and all assets acquired or obtained directly or indirectly as a result of
                    my illegal conduct;
12
            f.      I will request continuances of my sentencing date, as necessary, until my cooperation is
13                  completed;

14          11.     I agree that the government’s decision whether to file a motion pursuant to U.S.S.G.

15 § 5K1.1 or 18 U.S.C. § 3553(e), as described in the government promises section below, is based on its

16 sole and exclusive decision of whether I have provided substantial assistance and that decision will be

17 binding on me. I understand that the government’s decision whether to file such a motion, or the extent

18 of the departure recommended by any motion, will not depend on whether convictions are obtained in

19 any case. I also understand that the Court will not be bound by any recommendation made by the

20 government.

21          12.     I agree not to commit or attempt to commit any crimes before sentence is imposed or

22 before I surrender to serve my sentence. I also agree not to violate the terms of my pretrial release; not

23 to intentionally provide false information to the Court, the Probation Office, Pretrial Services, or the

24 government; and not to fail to comply with any of the other promises I have made in this Agreement. I

25 agree that if I fail to comply with any promises I have made in this Agreement, then the government will

26 be released from all of its promises in this Agreement, including those set forth in the Government’s

27 Promises Section below, but I will not be released from my guilty plea.

28          13.     If I am prosecuted after failing to comply with any promises I made in this Agreement,

     PLEA AGREEMENT                                   6                                            v. 05/14/2020
              Case
            Case   3:21-cr-00294-WHODocument
                 3:22-cr-00270-WHO   Document  40 Filed
                                             89-13 Filed08/12/21
                                                         04/11/23 Page
                                                                   Page78ofof818




 1 then (a) I agree that any statements I made to any law enforcement or other government agency or in

 2 Court, whether or not made pursuant to the cooperation provisions of this Agreement, may be used in

 3 any way; (b) I waive any and all claims under the United States Constitution, Rule 11(f) of the Federal

 4 Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal statute or

 5 rule, to suppress or restrict the use of my statements, or any leads derived from those statements; and (c)

 6 I waive any defense to any prosecution that it is barred by a statute of limitations, if the limitations

 7 period has run between the date of this Agreement and the date I am indicted.

 8          14.     I agree that this Agreement contains all of the promises and agreements between the

 9 government and me, that this Agreement supersedes all previous agreements that I had with the

10 government (including any “proffer” agreement), and I will not claim otherwise in the future. No

11 modification of this Agreement shall be effective unless it is in writing and signed by all parties.

12          15.     I agree that the Agreement binds the U.S. Attorney’s Office for the Northern District of

13 California only, and does not bind any other federal, state, or local agency.

14 The Government’s Promises

15          16.     The government agrees not to file any additional charges against the defendant that could

16 be filed as a result of the investigation that led to the captioned Information, so long as the defendant has

17 fully disclosed such conduct to the government and otherwise complied fully with this Agreement.

18          17.     If, in its sole and exclusive judgment, the government decides that the defendant has

19 cooperated fully and truthfully, provided substantial assistance to law enforcement authorities within the

20 meaning of U.S.S.G. § 5K1.1, and otherwise complied fully with this Agreement, it will file with the

21 Court a motion under § 5K1.1 and/or 18 U.S.C. § 3553 that explains the nature and extent of the

22 defendant’s cooperation and recommends a downward departure.

23 The Defendant’s Affirmations

24          18.     I confirm that I have had adequate time to discuss this case, the evidence, and the

25 Agreement with my attorney and that my attorney has provided me with all the legal advice that I

26 requested.

27          19.     I confirm that while I considered signing this Agreement, and at the time I signed it, I

28 was not under the influence of any alcohol, drug, or medicine that would impair my ability to understand

     PLEA AGREEMENT                                   7                                           v. 05/14/2020
Case 3:22-cr-00270-WHO
  Case 3:21-cr-00294-WHODocument
                         Document89-13 Filed08/12/21
                                   40 Filed  04/11/23 Page
                                                       Page89ofof818




    +VMZ 
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page10
                                                                 1 of
                                                                    of918




                                           EXHIBIT A

                                     [FILED UNDER SEAL]



       1.      I agree that I am guilty of the offenses to which I am pleading guilty, and I agree

that the following facts are true.

       2.      Beginning in at least 2014, and continuing through in or about January 2020, in

the Northern District of California and elsewhere, I agreed with Mohammed NURU, John Porter,

Mark Arsenault, and others, to provide payments and other benefits at the request of NURU on

behalf of the San Francisco Group of Recology Inc., a waste management company responsible

for solid waste collection services in the City and County of San Francisco (the “City”).

       3.      More specifically, I agreed to and did in fact arrange for Recology to provide such

payments and benefits at the request of NURU, who was then a public official with the City and

County of San Francisco, knowing and intending that they were made to influence NURU to use

his power and perform official acts to benefit Recology’s business.

       4.      From in or around February 2012 until June 2020, I was the Group Government

and Community Relations Manager for Recology Inc.’s San Francisco Group. I reported to

Mark Arsenault, the Vice President and General Manager of Recology’s San Francisco Group,

from in or around 2014 to in or around the end of 2017. From in or around January 2018 to June

2020, I reported to John Porter, who replaced Arsenault as the Vice President and General

Manager of Recology’s San Francisco Group.

       5.      During the relevant time, NURU was the director of San Francisco Public Works,

also known as the Department of Public Works (herein, “DPW”) of the City and County of San

Francisco, which regulated Recology. As Director of DPW, NURU was a powerful public

official who had great influence over City business, including the City’s relationship with

Recology. For example, NURU presided over the process that governed the rates that Recology

could charge in San Francisco for its residential solid waste collection services, and was

responsible for making a recommendation as to whether any rate increase for Recology should

                                                 1
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page11
                                                                 2 of
                                                                    of918




be approved. I also understood that NURU was in a position to influence the rates, known as

tipping fees, that Recology charged DPW when DPW dumped materials at a Recology facility

called Sustainable Crushing. NURU could also approve, deny, or otherwise affect operational

changes that Recology wanted to make. NURU’s power and influence extended not only to

business within the purview of DPW, but also to other City departments and agencies.

       6.      An essential part of my job at Recology during this time period was to keep

Mohammed NURU happy so that he would use his official position in Recology’s favor.

Specifically, Recology wanted to keep NURU happy so that he would approve, or influence the

approval of, Recology’s various requests for price increases, access to funds for capital

improvements that required NURU’s approval, and operational changes. Porter, Arsenault, and

others would often ask me if NURU was happy. Because of the power and influence he wielded

in his official position, a happy NURU was good for Recology’s business. The converse was

also true. Recology understood that an unhappy NURU could be very bad for Recology’s

business.

       7.      In order to ensure that NURU was happy with Recology and to influence him to

act in Recology’s favor as opportunities arose, I was one of the people that helped direct a stream

of payments and benefits to NURU or his designees on Recology’s behalf, including financial

contributions to organizations at his direction, services, gifts, and other things of value. In most

instances, Nuru or his designee requested the money or benefit and directed where it would go.

       8.      For example, at NURU’s direction, I arranged for Recology to pay approximately

$150,000 per year, in $30,000 installments, to the non-profit organization the San Francisco

Clean City Coalition, which I believed to be serving as the fiscal sponsor for a DPW program

called “Giant Sweep.” I arranged for these payments from no later than August 2014 through

approximately the end of 2019 with the expectation that providing this significant sum of money,

the largest scheduled contribution each year by Recology’s San Francisco Group, would cause

NURU to use his influence to benefit Recology, including in connection with Recology’s lengthy

rate increase process. I expected that, as DPW’s Director, NURU ultimately could control how

                                                  2
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page12
                                                                 3 of
                                                                    of918




this money was used.

       9.      As was my practice, I sought approval from my supervisor, Arsenault or Porter,

before arranging to pay the approximately $150,000 that Nuru requested each year. I did not

have authority to approve payments this large and do not believe that either Arsenault or Porter

had final authority to approve payments of this magnitude either. I understood that the money

Recology sent to Clean City Coalition for Giant Sweep was important to NURU, which I

communicated to Porter and Arsenault. NURU described these payments as “the big one” in our

conversations. Because I understood the importance to NURU of these payments and the value

to Recology of keeping NURU happy, I offered to write a personal check when NURU did not

timely receive one of Recology’s promised $30,000 Giant Sweep payments in May 2015.

       10.     At around the same time in 2015, NURU asked me for help finding his son a job.

Understanding that Recology was at the time preparing to submit a rate increase application to

the City for NURU’s approval, I arranged for NURU’s son to work at Recology Sunset

Scavenger, for which he painted debris boxes. I expected that Recology’s payments and benefits

to NURU (like a job for his son) would influence NURU to use his official position to benefit

Recology. I understood that NURU’s son was the only high school student so employed by

Recology in San Francisco. NURU’s son continued to work at Recology during the school year

and summers through approximately June 2017. I stipulate that Recology paid NURU’s son a

total of approximately $19,565 during that time.

       11.     In or around June 2017, Mark Arsenault advised me that NURU’s son could no

longer work for Recology because it would not look good for Recology to employ the Director

of DPW’s son. I then arranged, with Arsenault’s knowledge and approval, for Recology to give

a grant to a non-profit on whose board I served, the Asian Pacific American Community Center

(APACC) in San Francisco, to create a summer program. I knew and discussed with Arsenault

that the summer program would consist of NURU’s son, and that Recology’s money would be

used to pay NURU’s son’s salary for the summer. I also arranged for Recology to fund NURU’s

son’s salary for a second summer at the non-profit in 2018. By this time, John Porter was my

                                                   3
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page13
                                                                 4 of
                                                                    of918




supervisor. As before with Arsenault, I would have needed Porter’s authorization to pay for the

second summer’s salary for NURU’s son. I stipulate that Recology gave approximately $9,600

to APACC in 2017 and approximately $14,000 to APACC in 2018 for the summer internship

program that employed NURU’s son.

       12.    Each year from at least 2016 through 2019, at NURU’s request, I also coordinated

Recology’s monetary contributions for the DPW holiday party. I recall NURU first asking for a

donation to the holiday party in or around December 2016 during a meeting I attended with Mark

Arsenault. Recology needed NURU’s support for certain operational changes relating to the

2017 rate application. During the meeting, NURU agreed to support Recology’s operational

changes and asked Recology for $5,000 to help pay for the DPW holiday party. Arsenault

agreed. NURU frequently requested payments or “donations” from Recology, including during

times that we were seeking official assistance from NURU. I understood – and believe it was

understood within Recology management – that providing the payments that NURU requested

would influence NURU to act favorably toward Recology, including supporting the operational

changes Recology was seeking.

       13.    NURU subsequently requested that Recology contribute to the DPW holiday

party every year through 2019. NURU advised me that Lefty O’Doul’s Restaurant was catering

the holiday parties and directed me to have Recology’s checks made out to the Lefty O’Doul’s

Foundation for Kids, which I knew to be a charity for underprivileged children. I prepared at

least one internal check request form for Recology and described the payment as a “holiday

donation” to the Lefty O’Doul’s Foundation. I knew that the money was not a holiday donation

to the Foundation and would not be used for underprivileged children. I directed the money to

the Lefty O’Doul’s Foundation for Kids because NURU told me to, and I knew that the money

would be used to pay for expenses associated with the DPW holiday party. I believed that

NURU wanted Recology to give the money to the Lefty O’Doul’s Foundation because Recology

was not allowed to give the money to him or to DPW directly. It was my practice to advise my

supervisor at the time, either Arsenault or Porter, that NURU had asked for money for the DPW

                                                4
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page14
                                                                 5 of
                                                                    of918




holiday party and seek their approval for these contributions. There is no one else within the San

Francisco Group from whom I would have sought approval. Following approval from Arsenault

or Porter, I would arrange for Recology to issue a check to the Lefty O’Doul’s Foundation, and

then mail or hand-deliver the check to NURU or to somebody from the Lefty O’Doul’s

Foundation. I stipulate that I arranged for Recology to give NURU the following amounts each

year for the DPW holiday party, in the form of “holiday donations” to the Lefty O’Doul’s

Foundation: $5,000 (2016); $15,000 (2017); $20,000 (2018); $20,000 (2019). I understood that

the holiday parties were very important to NURU because they showcased his power and

importance in the City. I attended the parties each year; other executives from Recology also

attended at various times, including Porter and Arsenault and the General Managers of the

Recology San Francisco Group companies.

       14.      Recology also owned and operated a facility in San Francisco, Sustainable

Crushing, which accepted material such as concrete and asphalt for a “tipping fee,” or price per

ton, and processed it into an aggregate. DPW was Sustainable Crushing’s largest customer for

dumping materials and Recology knew that the facility was important to NURU. By the summer

of 2018, Sustainable Crushing was losing money; as a result, Recology wanted to raise the

tipping fees that it charged DPW. I understood that Recology needed NURU’s support for the

price increase. The General Manager of the Recology company that owned Sustainable

Crushing asked me to set up a meeting in the summer of 2018 between Recology and NURU to

discuss Recology’s desired price increase. I arranged and attended the meeting, which was

attended by NURU, John Porter, and the Recology General Manager. At the meeting, NURU

promised to assist Recology with the price increase.

       15.     I also participated in a meeting with NURU, John Porter, and others on November

21, 2018, in which Recology again sought NURU’s assistance in obtaining its Sustainable

Crushing price increase. On November 26, 2018, in a phone call, I had a conversation with

NURU in which he again promised to assist with the Sustainable Crushing price increase and

told me to send him Recology’s bills with the new prices. In that same conversation, he told me

                                                5
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page15
                                                                 6 of
                                                                    of918




that he needed more money for the DPW holiday party and requested that Recology give him

$20,000 for the party. I agreed that Recology would increase its contribution to the DPW

holiday party to $20,000. Although NURU did not explicitly condition his assistance with

Recology’s price increase on Recology’s agreement to give $20,000 to the DPW holiday party, I

understood that this was what NURU wanted based on the phone conversation and my ongoing

course of dealings with NURU over a period of years.

       16.     After NURU asked me for $20,000 for the DPW Holiday Party, I contacted my

supervisor, John Porter, told him about the conversation, and sought his approval for the $20,000

payment. Porter approved. I then prepared a check request that, as before, described the

payment as a “holiday donation” to the Lefty O’Doul’s Foundation for Kids, even though I knew

that this was not a holiday donation to the Foundation but was instead a payment for the DPW

holiday party. Porter signed this check request and Recology then issued a $20,000 check to the

Foundation. At NURU’s instruction, when I received the check, I had someone at Recology mail

it directly to NURU, rather than the Foundation.

       17.     Recology also gave NURU other gifts and benefits, which we expected would

influence NURU to take official action that would benefit Recology. For example, in December

2017, Mark Arsenault and I traveled to New York with NURU and City Administrator Naomi

Kelly to tour a trash collection system used on Roosevelt Island. I understand and believe that

the City booked NURU and Kelly’s airfare and hotel rooms. However, when Arsenault and I

arrived at the hotel where we would all be staying, we agreed that it was not a nice hotel and that

it would be embarrassing for NURU and Kelly to stay there. With Arsenault’s knowledge and

approval, I arranged for NURU and Kelly to stay at a Courtyard Marriott nearby. I paid for those

hotel rooms using my Recology purchase card and submitted the expenses for reimbursement by

Recology. The total cost of each room, paid for by Recology, was $865.34. Neither NURU nor

Kelly paid me or, to my knowledge, Recology back for the cost of their hotel rooms. I also paid

for meals for at least Kelly during the trip, again using my Recology purchase card. I also

understood that Naomi Kelly was important to Recology because she sat on the Rate Board,

                                                 6
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page16
                                                                 7 of
                                                                    of918




which ultimately approved Recology’s rates in San Francisco.

       18.     In another example, in June 2016, Recology paid for the funeral of a DPW

employee, describing the payment as a “donation for DPW Partnership” to the San Francisco

Clean City Coalition. DPW employee Sandra Zuniga requested that Recology pay the mortuary

bill of $3,500. However, rather than having Recology pay the mortuary bill directly, I

coordinated having Recology send the funds to San Francisco Clean City Coalition to pay for it.

With Mark Arsenault’s knowledge and approval, I requested that the Clean City Coalition

invoice Recology $3,500 for a “community service project.” As with the other payments

discussed here, we did this because we believed that keeping NURU happy by making these

payments was good for business and that, in exchange, NURU would use his position as DPW

director to take official actions that would help Recology’s business. After the Clean City

Coalition’s Executive Director emailed me an invoice for $3,500 for “Donation for DPW

Partnership,” I arranged for Recology to issue a payment to the Clean City Coalition for that

purpose. Mark Arsenault signed off on the payment.

       19.     I am not aware of Recology’s San Francisco Group providing donations or

financial benefits of this magnitude to any other elected or appointed public official in San

Francisco during the period described herein.

       20.     I agree that when I played a role in directing this stream of payments and benefits

to NURU or his designees, I was acting within the scope of my employment with Recology and

for the purpose of benefitting the company. I was commended on multiple occasions by

Arsenault and Porter for my role in maintaining Recology’s relationship with NURU and DPW,

including in performance reviews I received in my role as Government and Community

Relations Manger. I received bonuses and salary increases reflective of my success.

       21.     As described above, this stream of payments and benefits to NURU or his

designees was provided with the knowledge and approval of my supervisors, first Mark

Arsenault, and then John Porter. We did this with the understanding and the expectation that in

exchange for these payments and benefits, NURU would take official action or use his influence

                                                 7
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page17
                                                                 8 of
                                                                    of918




as DPW Director to benefit Recology’s business as opportunities arose, and refrain from taking

actions adverse to Recology. When I received requests for donations or contributions, including

requests from NURU, my practice was always to inform my supervisor of the request and who

was making it. When Porter and Arsenault learned that NURU was the person making the

request, they would always, or virtually always, agree to the payments and manually sign off on

the check request forms indicating their approval of the payments requested by NURU.

        22.     Because providing these benefits and items of value to NURU on Recology’s

behalf in return for NURU’s official assistance was the regular course of dealings between

Recology and NURU over a period of years, I did not believe it was necessary for either of us to

say this out loud. I knew that Recology was not allowed to give money to NURU or DPW

directly, so Recology gave the money to non-profit organizations at NURU’s direction.

        23.     I stipulate that the City of San Francisco received federal assistance in excess of

$10,000 in a one-year period within twelve months before or after the conduct covered by this

Plea Agreement. I further stipulate that the conduct described above was intended to influence

or reward NURU in connection with a transaction or series of transactions of DPW that involved

$5,000 or more.

        24.     I agree that at all relevant times described above, I acted knowingly and with the

intent to defraud, that is, the intent to deprive the public of its right to the honest services of a

public official, namely NURU, through bribery in breach of NURU’s fiduciary duty. I further

agree that my actions were material, that is they were capable of influencing NURU’s actions. In

addition, I stipulate and agree that the banking transactions generated by our scheme utilized

numerous interstate wire communications, including the checks issued by Recology at NURU’s

direction to the San Francisco Clean City Coalition, the Lefty O’Doul’s Foundation, and the

Asian Pacific American Community Center. I further stipulate that on at least one occasion, in

November 2018, I directed someone at Recology to utilize the United States mail to mail a check

to NURU at his request for the DPW holiday party.

                                       Other Relevant Conduct

                                                    8
       Case
      Case   3:21-cr-00294-WHODocument
           3:22-cr-00270-WHO   Document 40-1 Filed
                                       89-13 Filed04/11/23
                                                   08/12/21 Page
                                                            Page18
                                                                 9 of
                                                                    of918




       25.     After learning about NURU’s arrest in January 2020, I deleted text messages and

emails that I had exchanged with NURU.

                                               ***

       The foregoing facts are set forth solely to assist the Court in determining whether a

factual basis exists for my plea of guilty, and are not intended to be a complete or comprehensive

statement of all the facts within my personal knowledge regarding the charged crimes and related

conduct by NURU or others.




                                                9
